Case 5:17-cv-00031-MFU-JCH Document 86 Filed 07/08/19 Page 1 of 1 Pageid#: 628

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       Thepatéeshaveinform ed the cotutthatallm attetsin thiscase havebeen resolved

 andjointlymoveforitsdisnnissalwithprejudicepuzsuanttoRule41(a)(1)$).Accordingly,
 thisactionisDISM ISSED with prejudice andSTRICKRN from theactivedocket.
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